CASE 0:23-mj-00846-JFD Doc. 2 Filed 11/15/23 Page 1 of 6
CASE 0:23-mj-00846-JFD Doc. 2 Filed 11/15/23 Page 2 of 6
CASE 0:23-mj-00846-JFD Doc. 2 Filed 11/15/23 Page 3 of 6
CASE 0:23-mj-00846-JFD Doc. 2 Filed 11/15/23 Page 4 of 6
CASE 0:23-mj-00846-JFD Doc. 2 Filed 11/15/23 Page 5 of 6
CASE 0:23-mj-00846-JFD Doc. 2 Filed 11/15/23 Page 6 of 6
